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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ANDREW BLUM, et al.,

                                   Plaintiffs,
                                                                                 ORDER
                 -against-

MERRILL LYNCH & CO., INC., et al.,                                        15 Civ. 1636 (GBD)

                                   Defendants.

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GEORGE B. DANIELS, United States District Judge:

         On May 6, 2016, this Court approved Plaintiffs' motion for approval of settlement, service

awards, and Attorney's Fees and Costs (Order, ECF No. 142), which provided that this action

would be dismissed within 31 days unless there is an appeal. As the docket does not indicate that

any appeal has been filed, the Clerk of the Court is hereby ORDERED to close the above-captioned

action, without prejudice to restoring the action to this Court's calendar if an application to restore

is made within thirty (30) days of this Order.



Dated: New York, New York                                          SO ORDERED.
       Mayl5,2017
